Case 1:12-cv-01570-CMA-MEH Document 35 Filed 11/19/12 USDC Colorado Page 1 of 2

CM/ECF - U.S. District Court:cod-Query Summary

Page 1 of 2

1:12-cv-01570-RPM Bacote et al v. Federal Bureau of Prisons et al

Office: Denver

Jury Demand: None
Nature of Suit: 440

Jurisdiction: U.S. Government

Defendant
County: Fremont
Origin: |

Lead Case:
Related Case:

Richard P. Matsch, presiding

Date filed: 06/18/2012

Date of last filing: 11/16/2012

Case Summary

Filed: 06/18/2012

Defendant Custody Status:

Plaintiff: Michael
Bacote

Plaintiff: Michael
Bacote

Plaintiff: Harold
Cunningham

Plaintiff: Harold
Cunningham

Plaintiff: John W
Narducci, Jr

Plaintiff: John W
Narducci, Jr

Plaintiff: Jeremy
Pinson

Plaintiff: Jeremy
Pinson -

https://ecf.cod.circ10.dcn/cgi-bin/qrySummary.pl?133868

Demand:
Cause: 28:1331 Federal Question:
Other Civil Rights
Disposition:
Terminated:
Reopened:
None
None Other Court
Case: None
represented Edwin Phone:303-863-1000
by Packard Aro Fax: 303-832-0428
Email: ed.aro@aporter.com
represented Deborah Phone:202-319-1000
by Maxine Fax: 202-319-1010
Golden Email: deborah_golden@washlaw.org
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by Maxine Fax: 202-319-1010
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by Maxine Fax: 202-319-1010

11/19/2012
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